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                         THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No. 21-CR-83 (TNM)
       v.                                     :
                                              :
BRANDON FELLOWS,                              :
                                              :
               Defendant.                     :

    GOVERNMENT’S RESPONSE TO DEFENDANT’S PRO SE MOTION -ACCESS TO
         COURT VIOLATIONS [ECF 58-1] AND STATUS OF DISCOVERY

       The United States of America hereby responds to the Pro Se Motion – Access to Court

Violation (ECF 58-1) (the “Motion”) of the defendant, Brandon Fellows (“the defendant”).

Further, the government describes the status of discovery provided to the defendant to date.

                                       Defendant’s Motion

       In the Court’s minute order of February 14, 2022, the Court directed the Government to

respond to the defendant’s assertions in the Motion regarding (1) the jail's grievance process; (2)

the defendant’s access to stamps, pens, and paper; (3) his access to church services and clergy; and

(4) his access to haircuts and other grooming services at the jail.1 Accordingly, the government

made inquiries to the Deputy Director of Administration (DDA) for the D.C. Department of

Corrections (DOC) with respect to the defendant’s complaints about his access to these services.2

We also raised with the DDA the additional complaints that the defendant raised at the hearing on




1
  Consistent with the Court’s approach at the hearing on February 11, 2022, the Court did not
require the government to address the defendant’s request for another bond hearing because that
issue is pending before the D.C. Circuit in Case No. 21-3090.
2
 Should the Court wish to make further inquiries of the DDA, she will be available at the next
hearing date, scheduled for April 14, 2022, at 2:00 p.m.
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February 11, 2022, to wit: (1) his access to standby counsel and (2) the telephones not working.

We describe the results of our inquiries below.

The DOC’s Grievance Process.

       As a preliminary matter, to familiarize the Court with the DOC’s grievance process, we

have attached as Exhibit A the DOC’s Inmate Grievance Procedure 4030.1L (1/9/2020) (“DOC

IGP”). The DOC IGP clearly sets forth the procedures and time frames for submission and

resolution of inmate grievances. Matters relating to safety, care and supervision, or inmate

programs, activities and services are examples of issues for which a grievance may be filed. Id. at

sec. 10(a). Those which are not covered under the grievance process include FOIA or HIPAA

requests, inmate class action grievances, tort claims, or complaints filed on behalf of other inmates.

Id. at sec. 10(b). The DOC IGP establishes an Inmate Grievance Advisory Committee, which

includes inmates and staff, to discuss general inmate concerns and grievances, and to provide

recommendations to the Warden and supervision regarding conditions, and activities. The DOC

IGP is included in the inmate handbook which all inmates receive and is also accessible over

educational tablets. The defendant’s discussion in his Motion shows he is fully aware and knows

the policy. ECF 58-1 at 16-17.

       The defendant files grievances frequently. He has been in custody at DOC since July 2,

2021. Since August 18, 2021, he has filed approximately 23 grievances which are attached (along

with responses by the jail) hereto as Exhibit B (under seal). Notwithstanding the defendant’s

familiarity with the DOC IGP, four (4) of his grievances were not eligible for the grievance

process. The remaining 19 grievances have dealt with access to services (stamps, pen, paper, and

the law library; access to religious services and haircuts; access to health care; food) and

allegations regarding his treatment by staff. Of these 19, 13 have been resolved; three (3) have



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been resent to the appropriate divisions for responses since no response was provided within the

time frame set by the policy and procedures; and three (3) remain outstanding as of the filing of

this Response, including two received by the jail staff on February 22, 2022.

       Notably, the defendant uses racist, derogatory, and abusive language in many of the

grievances, some examples of which we have highlighted for the Court in Exhibit B. His language

is consistent with the harassing and abusive behaviors he exhibited while on release that resulted,

in large part, in revocation of his pretrial release. This offensive language was used in the four

complaints determined to be non-grievances. Each of the denials provided in response to these

four grievances denoted that the grievance failed to comply with the policy procedures (Exhibit

A) because the it was “not legible, understandable, presented in a courteous manner.” There is

every reason to believe such behaviors will continue if he is released from custody.

Access to Writing Materials.

       Four of the defendant’s grievances complained about a lack of access to writing materials.

He attached the first one, dated September 28, 2021, to the Motion. ECF 58-1 at 8-9. Pursuant to

the grievance process, he received envelopes, pens, and paper in the DOC’s response, just two

days later.3 On November 6, 2021, the defendant again complained that he had no writing

materials. The grievance was marked by the defendant as a Communications issue rather than

directed to the Law Library, and he was told to resubmit it. He did so on November 9, 2021, and

was then given paper, pens, and envelopes by staff in person prior to November 29, 2021, the date

the grievance was resolved. Per the resolution of the fourth grievance dated December 1, 2021, he

also received pens and paper on or about December 7, 2021. It appears the defendant receives




3
 Because his commissary balance was over $5.00, he did not qualify for free stamps because he
did not fit the criteria to be considered indigent. Id. at 9.
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writing supplies upon request. And as of March 4, 2022, no further complaints from the defendant

about writing supplies has been received by DOC staff.

Access to Religious Services, Clergy, Haircuts and Grooming Services.

         The defendant has submitted exactly one grievance about grooming services, on August

17, 2021. The defendant has not filed any grievances complaining about the lack of religious

services or clergy available to him.4

         Throughout most of the defendant’s detention, the District of Columbia has experienced

substantial rates of COVID-19 transmission. Accordingly, the DOC issued policies limiting access

to in-person clergy and religious services and grooming services to vaccinated inmates.5 The DOC

bases its policies on guidelines issued by the Centers for Disease Control and Prevention (“CDC”).

Those guidelines advise correctional facilities to keep prevention measures such as Coronavirus

vaccination and boosting and limited mixing of people in place, with reference to local community

trends     and    metrics    of   infections.          See   https://www.cdc.gov/coronavirus/2019-

ncov/community/correction-detention/guidance-correctional-detention.html.          In   short,   the

defendant’s lack of access to in-person services during the periods complained of was a direct

result of his decision to remain unvaccinated, which had to be balanced against the DOC’s need to

prevent Coronavirus outbreaks in its facilities.

         With the recent reduction of in the rate of transmission of Coronavirus in the District of

Columbia, the DOC continues to assess and modify its policies. As noted in footnote 4, religious


4
 Notwithstanding the defendant’s complaint to the Court at hearings on January 7 and February
11, 2022, that he did not have access to clergy or religious services, his Motion concedes that
some clergy access has been made available to him. In his pleading, the defendant states that
DOC offered clergy who then “handed us ‘The dailey call” [sic].” ECF 58-1 at 17.
5
 These services were paused for vaccinated inmates in late December 2021 because of a
coronavirus outbreak. They were reinstated for vaccinated inmates on February 28, 2022. See
Exhibit C, DOC’s Modified Medical Stay-in-Place Timeline Updated as of February 14, 2022.
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and grooming services that were paused based on a Coronavirus outbreak in December have

already resumed for vaccinated inmates. Further, according to the DDA, barbering services

resumed on March 1, 2022, for inmates with upcoming jury trials (regardless of vaccination status),

and the DOC is working on updates to additional polices as they relate to services for unvaccinated

residents. The DOC hopes to have the new policies for unvaccinated inmates solidified by early

April.

Access to the Law Library

         The DOC’s law library is virtual, and available on the educational tablets via Fastcase, a

cloud based legal research platform. If a resident would like a case printed, they send a request to

the law librarian and the case will be printed and provided to the resident. The defendant

complained about the law library services six (6) times. Four (4) of these were about the lack of

writing materials and were resolved by the defendant receiving those materials. Two (2) were

resent to the Law Library to be resolved although one complaint asked for no relief. One of these

contained derogatory language about the librarian, which is highlighted in Exhibit B.

         The defendant’s grievances filed under seal indicate he has taken advantage of the law

library services, in that he received writing materials, a case he had requested, and the laptop for

discovery review. Similarly, the defendant’s Motion, which cites to several cases and their

holdings, indicates has had access to the law library. ECF 58-1 at 6-7.

Standby Counsel’s Ability to Contact the Defendant.

         On February 12, 2022, based on information provided by the DDA, the government

emailed standby counsel contact information to resolve problems he was experiencing reaching

the defendant by reaching out to doc.attorneymessaging@dc.gov.




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Telephones Were not Working.

        At the hearing on February 11, 2022, the defendant complained to the Court the telephones

in the jail were not working. According to the DDA, because of issues between Comcast and the

DOC’s vendor, Securus Telephone system, which were out of the DOC’s control, telephones on

the defendant’s unit were intermittently accessible for approximately two weeks. After trouble

shooting a few possibilities beginning the week of January 24, 2022, when a small number of

inmates complained about the telephone service, the issue was ultimately found to be a failing

modem. As of Saturday, February 12, 2022, the issue was resolved, and the telephones are now

working.

Access to Discovery.6

        At the hearing, the defendant complained of lack of access to discovery materials. The

defendant’s allegations smack of gamesmanship intended to confuse this Court into believing that

either the government or the DOC may be at fault. The sole reason the defendant has been delayed

in reviewing any discovery is that he has repeatedly refused to take custody of a DOC laptop and

discovery materials when they are presented to him. Moreover, as described below, the defendant

has been provided ample discovery that he has an opportunity to review.

Electronic Discovery

        We first address attempts to provide the defendant copious digital discovery through the

DOC’s e-discovery laptop program and the DOC instance of evidence.com.

        The defendant told the Court on February 11, 2022, at the status conference that he had

once again refused the laptop and discovery because the jail wanted him to sign “the contract.”

What the jail present for defendant to sign was the form to accept or refuse the laptop. See Exhibit


6
 ECF 65 and 71 delineate the discovery provided to the defendant to date, both through counsel, standby counsel
and directly to defendant through the DOC Litigation Unit and the USPS.

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D. As established in prior hearings and pleadings, the “contract” referenced by the defendant is

the Protective Order, which the defendant signed on Nov. 29, 2021. ECF 66.

       As a preliminary matter, the DOC has no role in ensuring that the Protective Order is signed

before issuing a laptop to the defendant. Nevertheless, the government has once again verified

with the DDA that the DOC has never required the defendant to sign, or show proof of signing,

the Protective Order. As has been explained to the defendant on multiple occasions in pleadings

and during hearings before this Court, the only form the DOC has required him to sign before

providing him a discovery laptop is a form acknowledging his acceptance or refusal of the DOC’s

laptop and the storage devices containing discovery materials. See Exhibit D—1.

   Electronic Discovery Provided to Defendant

      Electronic discovery provided by the government to the Public Defender’s office was hand

       delivered by the defense to the jail in October of 2021 per discussions with the defendant’s

       then-standby attorney. This discovery was both global and case specific On November 12,

       2021, the defendant refused to accept a laptop and one flash drive of discovery provided to

       him by the Federal Public Defender before he chose to represent himself on September 23,

       2021. See Exhibits D, F. At the hearing on November 29, 2021, the Court learned of the

       refusal, and had a detailed discussion with defendant, standby counsel, and the government.

       The defendant explained he refused to sign the form presented by the DOC because he

       thought it was the Protective Order required by the government, about which he still had

       questions. The Court and the government explained that the form was unrelated to the

       Protective Order, that the DOC did not administer the Protective Order, and that this was a

       DOC form that did nothing more than acknowledge his acceptance of custody of the laptop

       and discovery materials. The Court and the government also addressed the defendant’s



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    outstanding concerns about the Protective Order. Immediately after the hearing, in the

    presence of standby counsel, the defendant signed the Protective Order. See ECF 67,

    Trans. 11/29/21 hrg. at 18-32; ECF 66, Signed Attachment A. The government and his

    standby counsel then both requested the DOC put the defendant back on the laptop wait

    list. Two weeks later, on December 13, 2021, the defendant received a laptop and a thumb

    drive of discovery, which he accepted and reviewed. See Exhibit F.

   On December 9, 2021, DOC received three thumb drives (government discovery

    production 1) hand delivered to the Litigation Unit by the government. See Exhibit E,

    receipt confirming delivery dated December 9, 2021. This discovery included case specific

    materials, such as the defendant’s Tiktok, as well as materials from global discovery 2, that

    was not on evidence.com nor was highly sensitive.

   On December 22, 2021, DOC received a CD (government discovery production 2) hand

    delivered to the Litigation Unit by the government. See Exhibit E, receipt confirming

    delivery dated December 16, 2021. This discovery included the December 13, 2021, status

    letter to the Court sent by the parties; the jail form to accept discovery which the defendant

    refused to sign November 12, 2021; and case specific FBI serial reports.

   On January 13, 2022, DOC received a CD (government discovery production 3) hand

    delivered to the Litigation Unit by the government. See Exhibit E, email confirming

    delivery on January 13, 2022. This discovery includes a copy of the Attachment A

    defendant signed November 29, 2021, and the filed version; a copy of ECF 65, Notice of

    Filing Pro Se Discovery; and the Global Production 9 letter.




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          On January 21, 2022, DOC records show staff attempted to deliver the defendant a laptop

           accompanied by four flash drives7 (received by staff December 23, 2021) and two DVDs

           (received by staff December 23, 2021, and January 19, 2022) of discovery. See Exhibit F.

           The defendant refused to accept the laptop or discovery. See Exhibit E. There is no valid

           explanation for this refusal, except to try to stoke the ire of this Court.

          On February 9, 2022, DOC received a CD (government discovery production 4) hand

           delivered to the Litigation Unit by the government. See Exhibit E, receipt of delivery dated

           February 9, 2022. This contained Global Production 10 letter and contents of the

           production.

          On February 10, 2022, DOC records show staff delivered one DVD of discovery, which

           the defendant was reviewing as of February 22, 2022, until it is picked up March 8, 2022.

           See Exhibit F.

          On February 11, 2022, the defendant indicated to the Court that he had access to the DOC

           instance of evidence.com as discussed in the Discovery Status Memorandum of February

           9, 2022. ECF 70. He expressed frustration that some of the videos had no action for long

           periods of time (which suggests that he should use the various indexes, maps, and other

           tools provided by the government to help him identify relevant video), however he did not

           say he had issues accessing the discovery on evidence.com.

          As of March 4, 2022, the DOC DDA has indicated that the defendant is on the jail’s waiting

           list for discovery but his cannot review it because his password for the encrypted storage

           devices does not work. The data was encrypted per Department of Justice requirements,

           but the government ensured the password worked before providing the data. Upon


7
    The government does not know the origin of the 4th thumb drive listed on the jail records.

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       information and belief, the DOC may require additional software for the password to work

       correctly. On Monday, March 7, 2022, Information Technology (IT) staff at the DOC and

       the USAO will work together to troubleshoot this matter further.


Paper Discovery Provided to Defendant via Certified Mail

      On February 7, 2022, the government sent the Global Discovery Production 11, and indices

       of all Global discovery produced (1-11) by certified mail to the defendant (government

       discovery production 5). See Exhibit E, certified mail receipt dated February 7, 2022. This

       production did not contain digital evidence and thus was mailed directly to the defendant,

       marked as legal mail. Tracking information shows this production was delivered to the

       DOC on February 16, 2022. See Exhibit E, certified mail receipt online tracking screen

       dated February 16, 2022. According to the DOC mail logs, the defendant received

       discovery provided by the government on February 17, 2022. See Exhibit G. A copy of the

       letter and contents was also emailed to new standby counsel February 5, 2022. See Exhibit

       E, Document entitled US v. Brandon Fellows pro Se Discovery Production 5 - Global

       Discovery 11_Redacted. The DOC has verified receipt of this mailing.

      On February 16, 2022, the government, via USAfx, produced for new standby counsel’s

       benefit all the case-specific discovery productions referenced above (Productions made to

       the Defendant sent to the jail once he went pro se – entitled productions 1-5). (Standby

       counsel indicated that he would take care of producing materials from global discovery, as

       those are or would soon be available to him in Relativity.) Also included were two

       interviews the defendant gave to the media as well as videos from other defendants which

       depicted the defendant inside the Capitol Building. See Exhibit E, Document entitled US

       v. Fellows Pro Se discovery in USAfx 2-16-22.

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      DOC mail logs show the defendant received two mailing from his standby counsel on

       February 18, 2022. See Exhibit G.

      On February 20, 2022, the government supplemented the USAfx folder discovery folder

       made for standby counsel with footage from BWC where the defendant is briefly glimpsed

       outside walking in the west terrace area.

      On February 22, 2022, the government produced via certified mail (government discovery

       production 6) the Global Discovery 11 letter; the Motion to file Under Seal Exhibit B to

       the present Government’s Response to the defendant and copied standby counsel; and the

       ECF minute entry of the Order directing the government to file a response to defendant’s

       motion, ECF 58-1. See Exhibit E, certified mail receipt dated February 22, 2022. Tracking

       information shows this production was delivered to the DOC on February 28, 2022. See

       Exhibit E, certified mail receipt online tracking screen dated February 28, 2022. DOC mail

       logs show the defendant received mail from the government on Mach 2, 2022. See Exhibit

       G.


Notices of Discovery

       On December 22, 2021, a Notice of Discovery was filed listing discovery provided since

the defendant was charged up until December 16, 2021 (ECF 65).


       On February 22, 2022, a Notice of Discovery was filed updating the list of discovery

provided the defendant (ECF 65) since December 22, 2021. See ECF 71. The latest Notice of

Discovery lists the discovery provided to defendant, acting pro se, on January 7, January 28,

February 7, and February 22, 2022. In addition, the Notice filed February 22nd lists the discovery




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provided February 16, 2022, to defendant’s new standby counsel via USAfx. Id. The discovery

provided to standby counsel in USAfx had been sent to defendant in prior productions.


       Global and Future Discovery


       The Court was initially reluctant to toll the statute of limitations at the February 11, 2022,

hearing. However, the Court ultimately allowed tolling due to standby counsel’s calendar and

availability. The government understood this reluctance was due to the Court’s concern with the

time it has taken to provide global discovery. However, the government has made a clear and

detailed record before the Court of the efforts to provide the defendant with his discovery. The

discovery is being provided in rolling productions, as illustrated by the letter of December 13,

2021, sent to the Court by the parties, as well as the seven (7) Status of Discovery Memorandums

filed in this case. See ECF 34, 39, 44, 52, 54, 69, 70. The global discovery remains ongoing. The

government produced its 12th production via Relativity and evidence.com beginning March 4,

2022. In this production, the following is being produced:


       a. Over 250 Federal Bureau of Investigation (“FBI”) interviews of USCP and
          Metropolitan Police Department officers, and associated exhibits (889 files total).
       b. Three search warrants and related materials pertaining to a total of 63 Facebook
          accounts.
       c. Two search warrants and related materials pertaining to the FBI’s collection of
          Google account subscriber information and location data from the Capitol and
          restricted perimeter, i.e., the Google geofence warrants.
       d. An application and related orders issued pursuant to 18 U.S.C. 2703(d), requiring
          twelve cell service providers to provide basic subscriber information and call records
          for devices that, according to location data obtained pursuant to the Google geofence
          warrants, were present within the U.S. Capitol on January 6, 2021.
       e. One search warrant and related materials requiring Facebook to provide information
          for accounts associated with 2,087 advertising identifiers.
       f. Ten search warrants and related materials pertaining to anonymized location data
          collected by ten data aggregation companies.
       g. Six search warrants and related materials pertaining to the FBI’s collection of cell
          tower data from Verizon, AT&T, and T-Mobile/Sprint.

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       h. A small mix of scoped devices, SCA accounts, and custodial interviews. Call it a
          gateway production to the bigger rollout we plan to start next week.
       i. All global discovery productions (i.e., Global Production Nos. 1-11) that were
          previously made by USAfx.
       j. Some VSP BWC footage (via evidence.com)

       To date over 34,000 documents have been provided to defense in the Relativity database.

This latest production as well as the Status of Discovery Memorandum of February 9, 2022 (ECF

70) and the proffers of the government on February 11, 2022, show a herculean effort to obtain,

manage, redact, organize, ingest, and provide to the defense bar terabytes of material from multiple

agencies and subjects. This is being done so that defendant counsel in all the Capitol siege cases

can access the global discovery that may relate directly to their defendant or their defense in a

reasonable and sensible manner.


Conclusion

       In this specific case, matters are complicated in part because the defendant’s own actions

have hampered his ability to review specific discovery provided by the government. The defendant

has twice refused to accept the laptop and discovery that was offered to him by the DOC Litigation

unit for no good reason. The USAO office is now working with the DOC to address the accessing

of encrypted materials by residents in the jail. Importantly, the defendant has also indicated he is

not ready to set a trial date and wants to review the discovery first. Given that the defendant’s

continual refusals to review discovery materials are preventing him from adequately preparing his

own defense, we request the Court grant his requests to toll the passage of time the Speedy Trial

Act notwithstanding the Court’s frustrations with the pace at which the government has produced

global discovery. Even if the government had provided all the discovery as of today, the defendant

would have been unable to review it, having refused to take custody of a laptop or discovery

materials.

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       For the reasons cited above, the government respectfully submits that continued tolling of

the speedy trial is reasonable and within the interests of the justice and the public.

                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               UNITED STATES ATTORNEY
                                               D.C. Bar No. 481052

                                       By:      /s/ Mona Lee M. Furst
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                                 CERTIFICATE OF SERVICE
       On this 7th day of March, 2022, a copy of the foregoing was served on standby

counsel of record for the defendant via the Court’s Electronic Filing System and sent via

USPS to the defendant Brandon Fellows Inmate #377943, D.C. Jail, Correctional

Treatment Facility, 1901 E. Street S.E., Washington, DC 20003.

                                                          /s/Mona Lee M. Furst
                                                Mona Lee M. Furst
                                                Assistant United States Attorney




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